    Case 1:24-cr-00362-EK Document 19 Filed 09/23/24 Page 1 of 2 PageID #: 87




GMR
F. #2023R00922

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA

         - against -                                             24-CR-362 (EK)

ASIF MERCHANT,
    also known as “Asif Raza Merchant,”

                        Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                                             NOTICE OF APPEARANCE

                    PLEASE TAKE NOTICE that Assistant United States Attorney Gilbert Rein from

this point forward will be added as counsel in the above-captioned matter.

                    All future correspondence to the United States in the above-captioned matter

should be sent to:

                    Assistant U.S. Attorney Gilbert Rein
                    United States Attorney’s Office (Criminal Division)
                    271-A Cadman Plaza East
                    Brooklyn, New York 11201
                    Tel: (718) 254-6407
                    Email: Gilbert.Rein@usdoj.gov
      Case 1:24-cr-00362-EK Document 19 Filed 09/23/24 Page 2 of 2 PageID #: 88




                In addition, the Clerk of the Court is respectfully requested to ensure that all

future ECF notifications are sent to Assistant United States Attorney Gilbert Rein at the email

address set forth above.

Dated:    Brooklyn, New York
          September 23, 2024

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:     /s/ Gilbert Rein
                                                   Gilbert Rein
                                                   Assistant U.S. Attorney

cc:      Clerk of the Court (EK)
